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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
FRANCIS DIDONATO,                                              :
                                             Plaintiff,        :     20 Civ. 2154 (LGS)
                                                               :
                           -against-                           :           ORDER
                                                               :
GC SERVICES LIMITED PARTNERSHIP, et al., :
                                             Defendants.       :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on January 6, 2021, the parties filed pre-motion letters in anticipation of cross

motions for summary judgment (Dkt. Nos. 98 and 99), and on January 13, 2021, the parties filed

responsive letters (Dkt. Nos. 106 and 107).

        WHEREAS, on January 12, 2021, Plaintiff filed a pre-motion letter requesting to modify the

stipulated protective order at Docket No. 60 (the “Protective Order”), so that certain deposition

testimony and documents that were produced and designated “Confidential” in this matter may be

used in Mader v. Experian Information Solutions, LLC, Case No. 19 Civ. 3783 (S.D.N.Y.), in

connection with a motion pursuant to Federal Rule of Civil Procedure 60(b), regarding the accuracy

of Navient employee John Zemetro’s declaration in Mader. Dkt. No. 105.

        WHEREAS on January 25, 2021, Defendants filed a responsive letter to Plaintiff’s pre-

motion letter at Docket No. 105 (Dkt. No. 117), and on January 25, 2021, Plaintiff filed a reply (Dkt.

No. 118).

        WHEREAS, a pre-motion conference was held on January 28, 2021, to discuss the parties’

anticipated motions. It is hereby

        ORDERED that the parties shall brief cross-motions for summary judgment according to the

following schedule:

            •    by March 18, 2021, Plaintiff shall file his motion for summary judgment;

            •    by April 15, 2021, Defendants shall file their opposition to Plaintiff’s motion for
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                summary judgment and any cross-motion for summary judgment;

            •   by May 13, 2021, Plaintiff shall file his reply in support of its motion for summary

                judgment and any opposition to Defendants’ cross-motion for summary judgment; and

            •   by June 3, 2021, Defendants shall file its reply in support of the cross-motion for

                summary judgment.

It is further

       ORDERED that, each side is limited to 50 pages of briefing total. Defendants may file joint

or separate briefs but together are limited to 50 pages of briefing total. The parties shall otherwise

comply with the Court’s Individual Rules in filing their motions and supporting papers. Limitations

shall be interpreted to apply to each “side” rather than each party. It is further

       ORDERED that, Plaintiff’s pre-motion letter at Docket No. 105 -- construed as a motion to

modify the Protective Order -- is GRANTED, subject to the protective order in Mader v. Experian

Information Solutions, LLC, and solely for the purpose of the anticipated Rule 60(b) motion in the

Mader matter. For the reasons stated during the conference, extraordinary circumstances compel

modification of the Protective Order. Kiobel by Samkalden v. Cravath, Swaine & Moore LLP, 895

F.3d 238, 247 (2d Cir. 2018) (explaining that a motion to modify a protective order should be granted

upon a showing of “extraordinary circumstance or compelling need”) (internal citation omitted).

       The Clerk of Court is respectfully directed to close the motions at Docket Nos. 98 and 99.

Dated: January 28, 2021
       New York, New York




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